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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:
         Tough Mudder Incorporated                       Chapter 11
          AKA Tough Mudder, LLC                          Case No. 20-10036-CSS

     Debtor
_______________________________________


                                     NOTICE OF APPEARANCE

          Please take notice that Orlans PC has been retained as Attorney for Creditor, XACT

Acquisition, LLC dba XACT TeleSolutions, a Delaware Corporation, in the entitled action. You are

requested to serve a copy of each notice of any proceeding, hearing and/or report in this matter,

including, but not limited to notices required pursuant to Bankruptcy Rules 9010(b) and 2002 and the

Local Rules of Bankruptcy Procedure, upon the undersigned at the address indicated below.



Date: _February 17, 2020_
       Wilmington, Delaware                      Respectfully submitted,

                                                 Orlans PC

                                                  /s/ Chase N. Miller
                                                 Chase N. Miller (DE #5363)
                                                 John E. Tarburton (DE #3918)
                                                 4250 Lancaster Pike Suite 140
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                                                 (302) 339-8800
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                                                 cmiller@orlans.com
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                                                 Attorneys for XACT Acquisition, LLC dba XACT
                                                 TeleSolutions, a Delaware Corporation
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                                CERTIFICATE OF SERVICE

       The undersigned states that on February 17, 2020, copies of the foregoing Notice of
Appearance were filed with the Clerk of the Court using the ECF system, which will send
notification of such filing to the following:

Derek C. Abbott
Morris, Nichols, Arsht & Tunnell
1201 N. Market Street
P.O. Box 1347
Wilmington, DE 19899
dabbott@mnat.com
Bankruptcy Trustee

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies
of the foregoing Notice of Appearance to the following non-ECF participants:

Tough Mudder Incorporated
15 MetroTech Center
Brooklyn, NY 11201
Debtor


Dated: February 17, 2020
       Wilmington, Delaware                     Orlans PC

                                                 /s/ Chase N. Miller
                                                Chase N. Miller (DE #5363)
                                                John E. Tarburton (DE #3918)
